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September 3, 2021

By ECF

Hon. P. Kevin Castel
United States Courthouse
500 Pearl St.
New York, NY 10007

Re:      FSC Advisors, LLC v. Theia Group, Inc., et al., 21 Civ. 6995 (S.D.N.Y.) —
         Request to Provisionally Redact and Seal Certain Limited Information

Dear Judge Castel:

        We represent the plaintiff FCS Advisors, LLC (“FCS”) in the above case, and write to
respectfully request permission to redact or seal, at least provisionally, certain limited
information associated with a letter and declaration that we will filing imminently and that will
supplement FCS’s pending motion, brought by order to show cause, for a temporary receiver.
Specifically, we would be sealing all or portions of Exhibits 2-5, 10-11, and 14-15 to the
declaration, along with descriptions of those documents in the letter.

        The information at issue was marked “Confidential” under the governing protective order
by the defendants (collectively “Theia”), and consists largely of internal financial data. Given the
press of time, we have not had a chance to confer with Theia about whether it would agree to lift
its confidentiality designations. We expect Theia would not agree, because the information
consists of financial data that parties often seek to keep private. With the Court’s permission,
provisionally sealing this data will allow Theia an opportunity, if it wishes, to substantiate the
position that the material should be shielded from the public dockets, without delaying matters
on the motion that we brought on an expedited basis and that we believe is a matter of urgency.

        Accordingly, we respectfully request the Court’s permission to provisionally redact or
seal the items referenced above, along with references to those material in the accompanying
letter.

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         We thank the Court for its consideration of this request.
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                                      Respectfully,

                                      /s/ Charles Michael

                                      Charles Michael

cc: All Counsel of Record (via ECF)
